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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

UNITED STATES OF AMERICA                        §
                                                §
                                                §
VS.                                             §       CASE NO: 2:21-CR-00455-MHT-SRW
                                                §
WILLIAM COLON EASTERLING;                       §
BRENT COLON EASTERLING;                         §
KASSI BROOK EASTERLING;                         §
WILLIAM TYLER EASTERLING;                       §
GEORGE WILLIAM EASTERLING;                      §
THOMAS GLYN WILLIAMS;                           §
AND AMBER NICOLE EASTERLING,                    §
                                                §
Defendants.                                     §



                                NOTICE OF APPEARANCE

        COMES NOW, attorney H. Chase Dearman Esq., and hereby files this Notice of
Appearance as attorney of record for Brent Colon Easterling.


                                                Respectfully Submitted,


                                        BY: /s/_H. Chase Dearman___________
                                                H. CHASE DEARMAN (DEA032)
                                                Attorney for Defendant



OF COUNSEL:

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  Case 2:21-cr-00455-MHT-SMD Document 57 Filed 11/04/21 Page 2 of 2




                             CERTIFICATE OF SERVICE

       I certify that this Motion was electronically filed with the foregoing Clerk of the
Court using the CM/ECF system that will send notice to all attorneys of record this 4th day
of November 2021.

                                             /s/ H. Chase Dearman________
                                             H. CHASE DEARMAN
